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                 UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

In re:

         Bluepoint Medical Associates, LLC                 Case No. 19-13121-KHK
                                                           Chapter 11
               Debtor


                                 NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that pursuant to Fed. R. Bankr. P. 9010, John C. Morgan of the

law firm of NEW DAY LEGAL, PLLC hereby enters his appearance in this matter as counsel

for Wisteria 12810, LLC.

         REQUEST IS HEREBY MADE that all notices given or required to be given in this case

and all papers, pleadings and motions, served or required to be served in this case shall be

directed to the undersigned, whose office address, telephone, and facsimile numbers are set forth

below.

                                                    WISTERIA 12810, LLC
                                                    By Counsel


 /s/ John C. Morgan
John C. Morgan, Esquire, VSB # 30148
Scott W. Carpenter, Esquire, VSB # 89057
Suad Bektic, Esquire, VSB # 90012
NEW DAY LEGAL, PLLC
98 Alexandria Pike, Suite 10
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(540) 349-3232
FAX: (888) 612-0943
Counsel for the Debtor
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                                CERTIFICATE OF SERVICE

       I hereby certify that I have sent by ECF, or caused to be mailed, a true copy of the
foregoing Notice of Appearance to the following this 23rd day of October 2019.

Office of the United States Trustee
1725 Duke Street, Suite 650
Alexandria, VA 22314

John T. Donelan, Esquire
125 South Royal Street
Alexandria, VA 22314
Counsel for the Debtor


                                                       /s/ John C. Morgan
                                                              John C. Morgan
